Case 5:19-cr-00142-H-BV       Document 288       Filed 06/19/20     Page 1 of 3     PageID 866


                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                LUBBOCK DIVISION

 UNITED STATES OF AMERICA,

         P1aintiff,

                                                           No. 5 : I 9-CR- 142-H-BQ-9

 TANNER PAUL LANGDON,

         Defendant.


       ORDER ACCEPTING RIPORT AND RECOMMENDATION AND ORDER
               REFERRING THE ISSUE OF DETENTION TO THE
                  UMTED STATES MAGISTRATE JUDGE

         Before the Court are the Notice Regarding Entry of a Plea of Guilry, the Consent of

  the Defendant, and the Report and Recommendation Conceming Plea of Guilty of the

  United States Magistrate Judge. As no objections to the Report and Recommendation have

  been filed within fourteen days of service in accordance with 28 U.S.C. $ 636(b)(1), the

  Court accepts and adopts the Report and Recommendation. Accordingly, the Court accepts

  the plea ofguilty, and Tanner Paul Langdon is hereby adjudged guilty of Distribution and

  Possession vrith Intent to Distribute Methamphetamine in violation of 21 U.S.C.

  $$ 841(aXl), 841O)(1XC). Sentence will be imposed in accordance with the Court's

  scheduling order. The Court now refers the issue of mandatory detention pending

  sentencing to the Honorable Magistrate Judge Bryant.

  l.     Background

         The Second Superseding Indictment charges a violation of 21 U.S.C. $$ 841(a)(1)

  and 841(b)(1)(C), which is Disuibution and Possession with Intent to Distribute

  Methamphetamine. On Jvne 2,2020, Langdon pled guilry to the charge. The Honorable
Case 5:19-cr-00142-H-BV         Document 288        Filed 06/19/20      Page 2 of 3      PageID 867


 Magistrate Judge Bryant recommended *rat the plea be accepted. Having accepted that

 recommendation, Langdon has now been adjudged guilty of Distribution and Possession

 with Intent to Distribute Methamphetamine.

 2.        Legal Stanilaril Goverring Mandatory Detention

           Title 18 United States Code, Section 31a3@)(2) mandates detention after a guilty

 plea if the offense of conviction is among those listed in 18 U.S.C. $ 3142(0(1XA)-(C).

  Section 3142(0(1)(C) requires detention for a defendant adjudged guilty ofan offense for

  which a maximum term of imprisonment of ten years or more is prescribed in the

  Controlled Substances Act (21 U.S.C. $ 801, et seq.), the Controlled Substances Import and

  Export Act (21 U.S.C. $ 951, et seq.), or chapter 705 of title 46.

           The offense here, a violation of 21 U.S.C. $ 841, carries a maximum term of

  imprisonment of20 years and is an offense that subjects the defendant to mandatory

  detention under Section 3la3@)(2). See United Statesv. Carr,947 F.2d1239,1240 (5th Cir.

  1991).

           Section 3143(a)(2) details two exceptions to mandatory detention for defendants

  awaiting imposition or execution of a sentence. The defendant must be detained unless

  "(A)(i) the judicial officer finds there is a substantial likelihood that a motion for acquittal or

  new trial will be granted; or (ii) an attomey for the Govemment has recommended that no

  sentence of imprisonment be imposed on the person; and (B) the judicial officer finds by

  clear and convincing evidence that the person is not likely to flee or pose a danger to any

  other person or the commun ity." Id. Additionally, a person otherwise "subject to detention

  under Section 31a3@)(2), and who meets the conditions ofrelease set forth in Section

  3143(a)(1) or (b)(1), may be ordered released, under appropriate conditions, by the judicial


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Case 5:19-cr-00142-H-BV       Document 288           Filed 06/19/20   Page 3 of 3    PageID 868


 officer, if it is clearly shown that there are exceptional reasons why such person's detention

 would not be appropriate." 18 U.S.C. $ 3145(c).

        The Court thus refers this matter to the Honorable Magistrate Judge Bryant to

 determine whether Section 3143(a)(2)'s or Section 3145(c)'s exceptions are satisfied.

 3.     Conclusion

        The issue of mandatory detention for this offense is referred to Magistrate Judge

 Bryant for resolution.

        so ordered on lun" 14., zozo.



                                                                      ar.
                                                              WESLEYHENDRIX
                                                              D STATES DISTRICT JUDGE




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